

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. WR-74,428-01






IN RE JENNIFER BOWEN, Relator








ON PETITION FOR A WRIT OF MANDAMUS


CAUSE NO. 09-650-K368 IN THE 368TH DISTRICT COURT


FROM WILLIAMSON COUNTY






	Per curiam.


O R D E R



	Relator filed a "motion for transmission of sealed affidavit from the Williamson County
District Clerk's Office to this Court" requesting this Court to order the district clerk to transmit a
"sealed affidavit at issue in this case." The motion is granted. The Williamson County District Clerk
is ordered to forward the sealed affidavit of attorney Robert M. Phillips filed in this case to the Clerk
of this Court on or before August 25, 2010. 

	IT IS SO ORDERED THIS THE 18TH DAY OF AUGUST, 2010. 

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